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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                               NORTHWESTERN DIVISION

United States of America,                        )
                                                 )
                Plaintiff,                       )       ORDER (AMENDED)
                                                 )
        vs.                                      )
                                                 )
Nathan David McKenzie,                           )       Case Nos. 4:13-cr-066-3 and 4:13-cr-083-1
                                                 )
                Defendant.                       )


        On February 7, 2014, defendant entered guilty pleas in the above-captioned cases. On July

17, 2014, the court revoked defendant’s pre-sentence release given evidence of his continued use

of controlled substances and in light of his parents’ demand that the Pretrial Services Office remove

him from their residence in Trenton, North Dakota.

        On August 27, 2014, defendant filed motions for release to a residential facility pending

sentencing. The court denied the motions, citing defendant’s poor performance while on release and

space constraints at the residential facility.

        On December 10, 2014, defendant filed motions for release to his parent’s residence pending

sentencing. He advises that he has secured his parents approval to move back into their residence.

        On December 10, 2014, defendant filed a response in opposition to defendant’s motions for

release back to his parent’s residence. It avers that the court is required by 18 U.S.C. § 3143(a)(2)to

detain defendant pending sentencing. It further advises the court of the Pretrial Services Office’s

reluctance to reinstitute a home confinement program at defendant’s parent’s residence given the

previously difficulties encountered and resources expended when supervising defendant.

        Although defendant may have secured his parent’s permission to return to their residence,

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the court is not inclined to grant his request for release on conditions. First, defendant is no longer

afforded the presumption of innocence in light of the pleas he has entered in each case. Second, the

application of 18 U.S.C. § 3143(a)(2) in defendants’ cases mandates detention. Third, the release

of defendant to his parent’s residence is not otherwise warranted given his poor performance and

the difficulties previously encountered by the Pretrial Services office when monitoring defendant

at such a remote location. Finally, there have been no material change in circumstances to warrant

release at this time. Defendants’ motions (Case No. 4:13-cr-066, Docket No. 735; Case No. 4:13-cr-

83, Docket No. 73) are therefore DENIED.

       IT IS SO ORDERED.

       Dated this 8th day of January, 2015.

                                                       /s/ Charles S. Miller, Jr.
                                                       Charles S. Miller, Jr., Magistrate Judge
                                                       United States District Court




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